    Case 20-19017-RG        Doc 186     Filed 10/27/22 Entered 10/27/22 12:58:07               Desc Main
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      UNITED STATES BANKRUPTCY COURT
      DISTRICT OF NEW JERSEY
      Caption in Compliance with D.N.J. LBR 9004-1(b)
                                                                           Order Filed on October 27, 2022
      HELLRING LINDEMAN GOLDSTEIN                                          by Clerk
       & SIEGAL LLP                                                        U.S. Bankruptcy Court
                                                                           District of New Jersey
      Patricia A. Staiano, Esq.
      Attorneys for Benjamin A. Stanziale, Jr.
         Chapter 7 Trustee
      One Gateway Center
      Newark, New Jersey 07102-5323
      973.62t.9020
      ostaiano@,hlgsleJV.cam
                                                              Case   No. 20-19017 (RG)
      In Re:
                                                              Judge: Rosemary Gambardella
      HEALTH TECH HARBOR, INC.,
                                                               Chapter 7
                                    Debtor
                                                               Hearing Date: October 25,2022
                                                                             at 10:00 a.m.


               ORDER FOR FIRST INTERIM FEE ALLOWANCES FOR RK CONSULTANTS
                     LLC, ACCOUNTANTS FOR BENJAMIN A. STANZIALE, JR.,
                   CHAPTER 7 TRUSTEE, FOR ALLOWANCE OF COMPENSATION
                                                          EXPENS

                    The relief set forth on the following pages numbered two (2) is hereby
     ORDERED




DATED: October 27, 2022
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                            Document      Page 2 of 2
Debtor:        HEALTH TECH HARBOR, INC
Case No.       20-19017 (RG)

ORDER FOR FIRST INTERIM FEE ALLOWANCES FOR RK CONSULTANTS LLC,
ACCOUNTANTS FOR BENJAMIN A. STANZIALE, JR., CHAPTER 7 TRUSTEE, FOR
ALLOWANCE OF COMPENSATION AND REIMBURSEMENT OF OUT-OF POCKET
EXPENSES




               THIS MATTER being opened to the Court upon the Application of RK

Consultants LLC, Accountants for Benjamin A. Stanziale, Jr., Chapter 7 Trustee, for payment of

first interim allowances and reimbursement of out-of-pocket expenses; and notice and

opportunity for hearing were given to creditors and other parties in interest as required; and the
354676
Court having read and considered the Application of RK Consultants LLC; and good cause

appearing therefore, it is hereby


               ORDERED that compensation and expenses are allowed as follows


 APPLICANTS                          COMMISSION/FEES                          EXPENSES

 RK Consultants LLC                  $178,670.00                              $74.60




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